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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

JUDGE JACQUELINE SCOTT CORLEY Case No. 22-cr-00426-JSC-1

CASE NAME: USA v. DAVID WAYNE DEPAPE

NOTE FROM THE JURY

Note No. |

Date fis [2023
Time Zi40 Pv

1. The Jury has reached a unanimous verdict (_ )
or
Bs The Jury has the following question:

Which exhibit pombe bras Depape Sain
‘Wheel het ot aa wWhelchatr, We Hunk S qtr HHecley

Foreppin dfxtie Jury ar

